        Case 1:13-cr-00293-MEF-CSC Document 1 Filed 11/14/13 Page 1 of 3
                                                                                         FILED
                      IN THE DISTRICT COURT OF THE UNITED STATES                       NOV    14 ?Cfl
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION
                                                                                               CLERK
                                                                                       U.S. DISTRICT COURT
UNITED STATES OF AMERICA                      )                                        MIDDLE DIST. OF ALA.

                                              )
V.                                            )   CR. NO.   /;13ei'-c2/3-MEF
                                              )               [18 U.S.C. § 1542]
RICHARD HENRI VISSERS                         )
                                              )
                                              )       INDICTMENT



The Grand Jury charges:

                                            COUNT 1



       On or about June 23, 2006, in Coffee County, within the Middle District of Alabama, the

defendant,


                                  RICHARD HENRI V1SSERS,


did willfully and knowingly make a false statement in an application for a United States passport,

with the intent to induce and secure for his own use the issuance of a passport under the authority

of the United States, contrary to the laws regulating the issuance of such passports and the rules

prescribed pursuant to such laws, in that in such application the defendant falsely stated and

represented that his name was A.M.", that his date of birth was 07/* */1953 , and that his social

security number was XXX-XX-XXXX, which statements the defendant then and there knew to

be false, in violation of Title 18, United States Code, Section 1542.
        Case 1:13-cr-00293-MEF-CSC Document 1 Filed 11/14/13 Page 2 of 3




                                 FORFEITURE ALLEGATION

       A.      The allegations contained in Count 1 of this Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18, United

States Code, Section 982(a)(6)(a)(ii)(I) and (II).

       B.      Upon conviction of the offense in violation of Title 18, United States Code,

Section 1542 set forth in Count 1 of this Indictment, the defendant,

                                   RICHARD HENRI VISSERS,

shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section

982(a)(6)(a)(ii)(1) and (II), any and all property constituting or derived from proceeds the said

defendant obtained directly or indirectly as a result of the said violation and any and all property

used or intended to be used in any manner or part to commit and to facilitate the commission of

the offense.

       C.      If any of the property described above, as a result of any act or omission of the

defendant:

               (I).    cannot be located upon the exercise of due diligence;

               (2).    has been transferred or sold to, or deposited with, a third party;

               (3).    has been placed beyond the jurisdiction of the court;

               (4).    has been substantially diminished in value; or

               (5).    has been commingled with other property which cannot be divided
                       without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

982(b)(l) and Title 28, United States Code, Section 2461(c).
        Case 1:13-cr-00293-MEF-CSC Document 1 Filed 11/14/13 Page 3 of 3




       All pursuant to Title 18, United States Code, Section 982(a)(6)(a)(ii)(I) and (II) and Title

28, United States Code, Section 2461(c).

                                                     A TRUE BILL:




                                                     FOREPERSON




GEORGE L. BECK, JR.
UNITED STATES ATTO Y


Tommie Brwn, ardwick
Assistant i4nit9á States Attorney




Assistnt Und-&ates Attorney
